      7:23-cr-00900-TMC        Date Filed 05/13/25        Entry Number 87          Page 1 of 36




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                SPARTANBURG DIVISION

 UNITED STATES OF AMERICA                              CRIMINAL NO: 7:23-00900-TMC

 v.

 DA RON JEROME COLLINS


      GOVERNMENT’S MOTION AND MEMORANDUM OF LAW IN SUPPORT OF
                    MOTION FOR UPWARD VARIANCE

         The United States of America, by and through its undersigned attorney, in accordance with

18 U.S.C. § 3553(a) and the United States Sentencing Guidelines (“USSG”), hereby moves the

Court to impose an upward variance at sentencing. Defendant Da Ron Jerome Collins pled guilty

to witness tampering, in violation of 18 U.S.C. § 1512(b)(3), and obstruction of justice, in violation

of 18 U.S.C. § 1519. The advisory Guidelines range of 37-46 months is woefully inadequate to

satisfy the purposes of sentencing. The statutory maximum for each offense is 20 years. §

1512(b)(3); § 1519. Based on the nature and circumstances of the offenses and the defendant’s

history and characteristics, an upward variance to 240 months’ imprisonment is necessary to reflect

the seriousness of the offense, to promote respect for the law, to provide just punishment and to

protect the public from further crimes of the defendant.

I.       The Offense Conduct1

         A.     Underlying Offense—Collins assaults and strangles Young.

         On Saturday, May 13, 2023, at about 9:36 p.m., Collins’ 23-year-old daughter, Iniesha

Collins (“Iniesha”), placed an anonymous 911 call to report that “there was a lot going on in the



1 At sentencing, the Government intends to offer exhibits including portions of audio and video

recordings (not attached hereto and previously provided in discovery) relevant to its objections to
the presentence report and to this Motion.
   7:23-cr-00900-TMC          Date Filed 05/13/25       Entry Number 87         Page 2 of 36




house…an assault or domestic abuse,” that Collins and his girlfriend Casey Young were in the

house, and “it sounds like somebody is choking…I just need you guys to get here fast.” PSR, ¶¶

7-12. Iniesha told the operator that her father and his girlfriend were in the house. At the time,

Collins, age 47, his girlfriend of two years, Casey Young, age 44, Young’s teenage son and Iniesha

lived on Pratt Drive in Boiling Springs, South Carolina.

       When Spartanburg County Sheriff’s Office (SCSO) deputies arrived, their body-worn

cameras captured the condition of the house. The deputies observed the house was torn apart with

clothes and other household items strewn about the house, which Iniesha indicated was caused by

the couple’s fighting. PSR, ¶ 10. Collins told the deputies that he owned the house and that he

wanted Young, with whom he had been living for eight months, to move out. PSR, ¶ 8. Deputies

also observed Young’s injuries and asked her whether Collins “put his hands on [her].” Young

stated, “you see it don’t you … can’t you see my neck,” as she pointed to the pressure marks and

bruises around her neck and chest and a scrape on her elbow. Young also told the officers that

Collins tore her shirt as he dragged her down the stairs and out the front door. PSR, ¶ 12. Collins

denied that he “choked” Young but admitted that he threw her and her clothes out of the house and

tackled her to keep her from breaking a kitchen window. PSR, ¶ 8. At the time of the incident,

Young wore braided hair extensions. Deputies found one of her braids in the backyard (PSR, ¶ 8)

which indicates a struggle had taken place. The residence was equipped with an ADT security

system that included door sensors and (1) a backdoor camera, (2) a front doorbell camera, (3) a

street-facing above-garage (“driveway”) camera and (4) one indoor hallway security camera. PSR,

¶¶ 36, 40. When asked for security camera footage, Collins immediately responded, telling police

that no footage was available because his internet service was down. PSR, ¶ 9.

       Even though Collins had assaulted and strangled her, Young told the deputies that she did


                                                2
   7:23-cr-00900-TMC           Date Filed 05/13/25        Entry Number 87          Page 3 of 36




not want Collins to be arrested and that “[she] just want[ed] the night to be over.” Officer Blackwell

BWC, Timestamp 12:44. Despite her visible injuries, her statements to police implicating Collins,

and Iniesha’s 911 call reporting that Young was being “choked,” Collins was not charged.

According to police, Collins was not arrested because he had no criminal history, the parties

provided inconsistent stories and Young was uncooperative.2 See PSR, ¶ 12. Both Iniesha (PSR, ¶

36) and a neighbor (“Neighbor #1”) later reported that after deputies left the residence on May 13,

the couple continued to fight. Neighbor #1 reported that she saw Collins push and shove Young

against the window in an upstairs bedroom. According to Iniesha, the couple remained in separate

rooms and did not interact or speak to each other through the rest of the weekend. Young called

Teresa Springer to tell her about the incident and to let her know that she would not make it to

church the following day, which was Mother’s Day. Springer is grandmother to Young’s children.

       B.      Young’s last day.

       On Monday, May 15, 2023, Collins was employed by a concrete company with cement

plants in Greenville and in Gray Court, South Carolina. According to cell phone location data,

Collins left his residence at approximately 4:24 a.m. headed to the Gray Court plant.3 At

approximately 2:55 p.m., he returned home. The activity log shows the defendant established a

remote connection to his home security cameras via the mobile app as he left the house. Young




2 A fair assessment of the evidence shows there was at least probable cause to arrest Collins for

criminal domestic violence. At a minimum, a person commits second degree criminal domestic
violence if he causes physical harm or injury to a person’s own household member; or attempts to
cause physical harm or injury to a person’s own household member with apparent present ability
under circumstances reasonably creating fear of imminent peril in violation of under S.C. Code §
16-25-20 (A) and, commits third-degree criminal domestic violence under subsection (A), by (d)
impeding the victim’s breathing or air flow. S.C. Code Ann. § 16-25-20(C)(2023).

3 According to cell phone location data, at approximately 5:30 a.m., he arrived at the plant.



                                                  3
   7:23-cr-00900-TMC           Date Filed 05/13/25       Entry Number 87          Page 4 of 36




left the residence at approximately 6:00 a.m., and at approximately 8:00 a.m., she clocked in at

MGC Diabetes and Endocrinology at Spartanburg Regional Hospital.4 PSR, ¶ 29.

       Between 4:34 a.m. and 3:59 p.m. on May 15, the ADT activity log for Collins’ driveway

camera detected a person within its frame and was triggered to record 22 times.5 However, when

ADT searched the defendant’s account for video images recorded by the camera during that period,

only 11 images were recovered. Between 12:12 p.m. and 2:34 p.m., the camera was triggered to

record 12 times, however, only 11 video images were recovered. On the images recovered no

person was captured, which indicates the camera was triggered by wind, a small animal or some

other natural element. 6 The recovery of 11 video images recorded around midday shows: (1) the

backyard and driveway cameras were operable throughout the day except for the periods when

Collins temporarily paused recording or intentionally disabled the recording feature on his cameras

and (2) video images relevant to the investigation were recorded throughout the day and deleted

by the customer as confirmed by ADT.



4 On her way to work, she stopped at Springer’s residence, and at 7:40 a.m., bought a drink at

Starbucks Coffee using her debit card. PSR, ¶ 26.

5 Pursuant to search warrants, ADT produced an activity log which showed the camera activity

and 452 video images created between May 13-21, 2023, for the defendant’s account. According
to ADT, his system is set to record 30-second video images which remain available on their servers
until the size limit has been reached or the customer deletes it. Once a customer deletes a video, it
is not recoverable by ADT from its servers. The customer controls the placement of cameras and
sensors, including the configuration of video analytics rules to control when and what motion or
activity triggers a camera to record. Collins accessed and controlled his account via a mobile app
on his cell phone to receive alerts by email or push notification of images captured by his cameras,
pause or temporarily disable recording and to delete recorded images.

6 According to the activity log, the driveway camera was triggered to record the missing video

[clip #9 of 12] at 2:01 p.m., on detection of a person within its frame. Iniesha told police that she
took an Uber ride to her job in Gaffney, South Carolina at approximately 2:00 p.m., therefore, it
is likely that her movement triggered the camera. She told police that she spoke with Young around
2:30 p.m. and Young agreed to pick her up from her job at 11:00 p.m. when her shift ended. See
PSR, ¶ 22.
                                                 4
   7:23-cr-00900-TMC           Date Filed 05/13/25         Entry Number 87          Page 5 of 36




       At 3:57 p.m., Young clocked out and at approximately 4:00 p.m., a Flock highway camera

captured her white Infinity as she drove home. Cell phone service provider records show that at

approximately 4:09 p.m., her cell phone connected to a cellular tower near the hospital to make

a call to Springer. PSR, ¶ 13.




        Figure 1



From approximately 4:20 p.m. to 4:37 p.m., Ace Hardware surveillance cameras captured Young

as she pulled into the parking lot and entered the store. Figure 2,3. Using her debit card, she ordered

and paid for duplicate house keys to prevent Collins from locking her out of the house. PSR, ¶¶

27, 32. She held her phone to her ear as she paid for the keys with her debit card. Figure 3. At

approximately 4:32 p.m., Young’s phone connected to a tower near her residence to call her son’s

teacher and to contact Springer again. At 4:39 p.m., records show an outgoing text message to

Springer, which was the last user-initiated activity over Young’s cell phone. At approximately

4:44 p.m., a store camera captured Young as she pulled out of the parking lot and headed home.

Figure 4.




  Figure 2



                                                  5
    7:23-cr-00900-TMC            Date Filed 05/13/25          Entry Number 87     Page 6 of 36




Figure 3                                               Figure 4


           According to the ADT log and cell phone location data, at approximately 2:55 p.m. Collins

arrived home. He was home alone. At 3:03 p.m., the log shows the driveway camera was triggered

by its detection of a person, however, no video image was recovered by ADT.7 At approximately

4:51 p.m., a next-door neighbor’s (“Neighbor #2”) camera captured Young’s vehicle as she arrived

home as shown in Figure 5. PSR, ¶ 43. Before she arrived, Collins moved his car from its original

position against the garage door to the middle of the driveway. Id. Because his black Infinity

blocked her access to her parking space in the driveway, Young parked on the street in front of the

house. PSR, ¶¶ 24, 43. Iniesha and Neighbor #1 confirmed the normal parking configuration for

Collins’ vehicle, Young’s vehicle and Collins’ employer’s truck, which he always parked on the

street, as shown in Figure 6. PSR, ¶¶ 22-24, ¶ 55.




Figure 5                                               Figure 6



7 In the hours after he got home from work, from 2:41 p.m. to 3:49 p.m., the driveway camera was

triggered to record on detection of a person six times, however, ADT recovered no video images
from their server.
                                                   6
    7:23-cr-00900-TMC            Date Filed 05/13/25       Entry Number 87      Page 7 of 36




           Figures 7 and 8 show the location and frame of the driveway camera.




Figure 7                                        Figure 8


At about 5:24 p.m., a camera attached to an across-the-street neighbor’s (“Neighbor #3”) house

captured Collins, wearing bright-colored athletic shorts and a light-colored t-shirt (Figure 9), as

he rummaged through the trunk of Young’s car. Young’s arrival (Figure 5), the movements of the

cars between 5:01 p.m. and 5:50 p.m., and the defendant’s rummaging through the trunk of her car

(Figure 9) all occurred within the frame of his driveway camera. Even though these movements

were captured by two different neighbors’ cameras, the activity log for the defendant’s driveway

camera shows no camera activity between approximately 3:59 p.m. and 8:33 p.m.




                      Figure 9


Young does not appear in any the video images outside of the residence. This is consistent with


                                                7
   7:23-cr-00900-TMC           Date Filed 05/13/25         Entry Number 87          Page 8 of 36




the camera’s recording function being intentionally paused or disabled.

       According to T-Mobile records, the last user-initiated activity on Young’s cell phone,

which has not been found, occurred at approximately 4:39 p.m. before she arrived home. From

approximately 6:32 p.m. to 6:58 p.m., during a data session, h er phone connected to a cell tower

located approximately 1.5 miles from her residence on Baby Road.8 Thereafter, all cell tower

connectivity permanently ceased which caused incoming calls to be routed to voicemail and

text messages to go undelivered. A phone that is powered off, has no battery life or is destroyed

cannot establish or maintain a connection with a cell tower, making it difficult to track or locate. T-

Mobile terminated phone service for non-payment within a few weeks. Young has not been seen

on camera or in person nor has she been heard from since she was home alone with the defendant

beginning at approximately 4:51 p.m. on May 15.

       C.      Collins dumps Young’s car.

       The ADT activity log shows that at approximately 7:20 p.m., Collins exited his residence.

Thereafter, he drove Young’s car to an apartment complex. Surveillance cameras positioned along

the three-mile route captured him at various points as he drove past public buildings and into the

apartment complex lot from approximately 7:25 p.m. to 7:35 p.m.9 Once he entered the parking

lot, he backed the car into an end-of-the-row parking space next to a cluster of mature shrubs

(Figures 10, 11) which obscured the car and its license plate. At approximately 7:38 p.m., Collins



8 A data session on a cell phone refers to the time a device is actively connected to the cellular

network for transferring data, like browsing the web, streaming videos, or using mobile apps. In
the context of a cell phone’s data usage, “active” and “passive” data sessions refer to how data is
transferred and used. Active data sessions involve a direct, user-initiated request for data, while
passive data sessions occur in the background, without direct user input. It is unknown whether
this data session on Young’s phone was active or passive.

9 The timestamp on the apartment complex surveillance camera is approximately 10 minutes ahead

of the actual time. The image in Figure 11 was taken on May 18 when the vehicle was found.
                                                  8
    7:23-cr-00900-TMC         Date Filed 05/13/25        Entry Number 87        Page 9 of 36




wiped down the interior surfaces, emerged from the car and locked its doors. Unlike a couple hours

earlier, he was wearing a dark colored sweatshirt, long pants, a baseball cap and gloves. Figure

10. From approximately 7:38 p.m. to 8:21 p.m., Collins exited the parking lot and walked the back

to his residence. Figures 12, 13, 14.




Figure 10                                           Figure 11




Figure 12                                           Figure 13




             Figure 14




                                                9
  7:23-cr-00900-TMC           Date Filed 05/13/25        Entry Number 87         Page 10 of 36




       Collins left his phone at home while he drove to the apartment complex to dump Young’s

car. Therefore, the location data for his cell phone makes it appear as if he did not leave his home.

The ADT log shows no interior sensor activity nor exterior camera activity from approximately

7:20 p.m. to approximately 8:21 p.m., the time it took him to exit his residence, drive to the

complex, dump the car, walk home and enter the house. The absence of activity during this 62-

minute period indicates recording for his driveway and backyard cameras were intentionally

paused or disabled.10

       Phone records show a missed call from Iniesha to Young at approximately 10:19 p.m.,

which was routed to voicemail. When Iniesha could not reach her, she feared Young would not

pick her up at 11:00 p.m. and that she would be stranded in Gaffney.11 At approximately 12:08

a.m., Iniesha arrived home. Iniesha and two of Collins’ neighbors noticed that Young’s car was

missing, that Collins’ work truck was backed up to the garage door in the driveway and that his

car was parked in front of the truck (Figure 15), which was abnormal.12 PSR, ¶¶ 22, 23. There is

no known employment purpose that explains the positioning of the truck.




10 After he returned from dumping the car, the backyard camera was triggered on motion of a

person at 8:33 p.m. and 9:26 p.m. At 8:44 p.m., and at 9:36 p.m., the driveway camera was
triggered to record. However, no video images for either camera were recovered by ADT.

11 Iniesha called Collins for a ride six times. PSR, ¶ 39. He did not answer her calls, so she was

forced to order an Uber ride home. PSR, ¶ 22. When she got home, Collins was up and fully
dressed. PSR, ¶ 39. He offered no explanation for why he did not answer her calls.

12 The activity log recorded the overhead garage door was opened at 9:04 p.m.

                                                 10
  7:23-cr-00900-TMC           Date Filed 05/13/25       Entry Number 87         Page 11 of 36




     Figure 15

       According to cell phone location data, at approximately 12:19 a.m., Collins left his

residence in his work truck. Iniesha’s arrival, the positioning of the vehicles in the driveway and

Collins’ departure did not trigger the driveway camera to record, which indicates he intentionally

paused or disabled the recording function. According to surveillance video and cell phone location

data, from 12:19 a.m. to 3:00 a.m., Collins inexplicably drove around in Greenville and Laurens

counties including to areas in and around his employer’s Greenville and Grey Court cement plants.

PSR, ¶¶ 51-53. A forensic examination of his phone shows that f rom approximately 2:17 a.m. to

2:51 a.m., he powered his cell phone off for approximately thirty-four minutes, which prevented

the continuous collection of location data during his midnight drive. PSR, ¶ 56. His phone was

located at the Gray Court plant from approximately 3:00 a.m. to 9:52 a.m. when he drove home to

meet police. There is no employment purpose that explains the defendant’s after-midnight drive.

       D.        Collins lies and continues to obstruct the investigation.

       On Tuesday, May 16, at approximately 8:00 a.m., when Young failed to stop by Springer’s

house on her way to work, Springer began calling her phone. At approximately 9:13 a.m., an hour

and thirteen minutes after she was scheduled to report to work, her manager called 911 to request

a welfare check. Springer and Young’s children headed to the defendant’s residence to meet the


                                                11
  7:23-cr-00900-TMC          Date Filed 05/13/25        Entry Number 87         Page 12 of 36




police and file a missing person report. While she waited for police to arrive, Springer spoke to

Collins by phone and asked him whether he knew Young’s whereabouts. Springer reported that

Collins was dismissive and told her Young did not come home from work the previous day and

that he had not seen her. PSR, ¶ 16. Approximately thirty minutes after telling Springer that Young

did not come from work, Collins made the first of nine calls to her phone between 9:29 a.m. and

11:32 a.m.13

       At approximately 9:44 a.m., two uniformed deputies arrived at the couple’s residence. The

encounter was recorded by the deputies’ body-worn cameras. Even though Collins told deputies

he got home around 2:00 p.m. phone location records show he arrived home at approximately 2:55

p.m. on May 15. He admitted that he and Young were not getting along and barely spoke to each

other. He stated that Young got home around 5:00 p.m., and the two had a brief exchange during

which he made a vulgar remark.14 Even though phone location data indicates otherwise, Collins

told police that Young took a shower, and changed clothes, and then he lied, telling them that she

left the residence in her vehicle about an hour after she arrived.15 Collins then volunteered a



13 He sent ten text messages to her phone from 5:34 a.m., while he was at the Gray Court jobsite,

to 8:24 p.m. on May 16-17. In his first message, Collins introduced his narrative that Young did
not come home Monday night and that she had run off with another man: “That must be some
good d---- since you didn’t show your face last. I want all your shit out my house ASAP, you could
stay where you[’re] at[.]” He received no response to any of his messages so, presumably to show
only that he had attempted to reach Young, Collins forwarded the text messages to Young’s
daughter. He made no calls and sent no messages to her phone after May 17.

14 Collins claimed that Young walked into the house carrying roses, which she said were a gift

from her new boyfriend. PSR, ¶ 20. He then repeated the crude remark he made to Young regarding
female genitalia to remind her that she was not the only woman on the planet. The day before
Young went missing was Mother’s Day Sunday. Her son gifted her a floral arrangement, which
she picked up from Springer’s house Monday morning. PSR, ¶ 16.

15 Collins knew that no images from his camera would be recovered, however, he could not know

what activity was captured and preserved by his neighbors’ security cameras.

                                                12
  7:23-cr-00900-TMC           Date Filed 05/13/25       Entry Number 87          Page 13 of 36




description of Young’s vehicle. When the deputies asked to see security camera footage from the

previous day, Collins stated that no images were captured by the doorbell camera because he

disabled the camera Monday morning to allow contractors to install a storm door. After checking

the ADT app on his cell phone for video images from the previous day, Collins walked into the

garage and, out of the deputy’s view, he located the power cord for the driveway camera. He then

informed the deputy that the camera had been unplugged, so all previously recorded images were

wiped out. Collins also told police that Young, at some unknown time, must have dislodged the

power cord when she moved her personal items and furnishings into the garage. Investigators who

examined the condition of the plug and the outlet determined that the plug was not damaged, and

that it would be difficult to dislodge the plug from the outlet. 16 PSR, ¶ 35.

       Realizing that his story did not align with the facts as she knew them, Springer reminded

Collins that minutes earlier during their phone conversation, he told her that Young did not come

home from work Monday, and that he had not seen her. PSR, ¶ 16. Collins chose to deflect instead

of answering Springer’s question directly, exclaiming, “she and I doesn’t [sic] speak.” He then

repeated the vulgar remark he made to Young. Having been caught in a lie by Springer, Collins

told her no video footage of Young at the house was available, because the driveway camera had

been accidentally unplugged. He admitted that he solely controlled the cameras and, despite his

claim that the driveway camera was accidentally unplugged, “[his] cameras are always on, and

[he] sees everything.” At the end of the interview, Collins consented to a search of the residence.




16 The activity log shows no loss of power to the driveway camera, which was triggered to record

a total of 25 times on May 15. Except for a pause of the recording from 3:59 p.m. to 8:33 p.m., the
camera operated throughout the day. The recovery of video images recorded around midday shows
that even if the camera was unplugged, previously recorded images were recoverable.
Furthermore, after Young disappeared, the driveway camera was triggered twice—at 8:44 p.m.
and 9:36 p.m.—to record which indicates it was not disconnected from its power source.
                                                13
  7:23-cr-00900-TMC            Date Filed 05/13/25        Entry Number 87          Page 14 of 36




Not only was Young not found in the house, but her furnishings, a television, her clothing and her

son’s clothing and other personal belongings had been moved to the garage. PSR, ¶ 21.

       On Wednesday, May 17, SCSO Violent Crime investigators recorded an interview with

Collins. He told investigators that when Young arrived home around 5:00 p.m. on Monday, she

took a shower and left about an hour later. He again described their brief exchange, repeated his

crude remark and stated, “it was . . . mute... it was mute…there was no conversation.” Collins then

lied, telling police that Young walked out of the house and drove off in her car. Knowing that he

left his cell phone at home and that its location data would show that it never left the house, he lied

again when he volunteered, “I spent the evening throwing her belongings into the garage…”and

that “I did not leave the house.” Collins again stated that all footage captured by the driveway

camera before it was unplugged was wiped out and could not be recovered.17 This time he stated

that he must have accidentally unplugged the driveway camera when he threw Young’s belongings

into the garage.

       This time he painted a rosey picture of his relationship with Young, professed his love for

her and talked about their plan to vacation in New Orleans over the Memorial Day holiday.18

Knowing that he had dumped Young’s car two days earlier, h e provided investigators a description

of the car and stated, “… so my question is there anyway ya’ll can just track the vehicle to find

where she’s at?” At no time did he suggest that investigators track the location of her cell phone




17 His claim is belied by the recovery of 11 video images recorded around midday before he

claimed the camera was unplugged. It also fails to explain the absence of footage of other activity
known to have occurred within the frame of the camera before it was allegedly unplugged.
18 Collins does not dispute that at the time of Young’s disappearance, he was involved in a

monthslong sexual relationship with a female co-worker. PSR, ¶ 57. In text messages exchanged
between Collins and the woman a week after Young disappeared, he asked h er to meet him for “a
quickie [sex].” A forensic analysis of his phone shows he was a frequent user of dating apps.

                                                  14
  7:23-cr-00900-TMC          Date Filed 05/13/25        Entry Number 87         Page 15 of 36




to find Young.

       His house of cards came tumbling down the next day. On May 18, investigators found

Young’s car in the apartment complex parking lot and recovered surveillance camera footage from

the complex management staff. While cell phone location data shows his phone was located at his

residence on Monday from 2:55 p.m. until after midnight, the surveillance cameras along the route

to the apartment complex and the ADT log show that from 7:20 p.m. to 8:21 p.m., Collins left his

house to dump the car. Once the locksmith unlocked the car, police found Young’s purse, her

checkbook, bank cards, medication, house keys and a cell phone charger. After police recovered

the apartment complex surveillance footage, Collins declined to speak with investigators.

       D.      Collins’ admissions.

       Collins was arrested on federal charges on November 15, 2023.19 At the time of his arrest,

the Government moved for detention pending trial. He temporarily waived his right to a detention

hearing with leave to revisit bail in the future. On June 20, 2024, a cooperating witness (“CW”)

housed with Collins at the Anderson City Jail reported to police that he had information concerning

the Collins case. The CW stated that during one of his conversations with Collins, the CW

insinuated that Collins had shot Young, because the Bureau of Alcohol, Tobacco, Firearms and




19 On June 1, 2023, Collins was arrested on outstanding warrants from Spartanburg County for

grand larceny, in violation of South Carolina Code § 16-13-30 (2019) and obstruction of justice,
in violation of § 16-9-340 (2022), each of which carries a maximum sentence of 10 years’
imprisonment. On June 6, 2023, bond was set at $9,000 with home detention and GPS location
monitoring. As a condition of bond, Collins was also prohibited from possessing a firearm and
from leaving the state without the court’s permission. On or about June 29, 2023, his bond was
revoked when he was found in possession of a loaded AR-15 rifle, additional magazines, various
ammunition, a Kevlar vest, an armored helmet, and other tactical gear. On September 20, 2023,
his bond was reinstated. On or about September 24, 2023, Collins traveled to Virginia without
permission from the court. On October 11, 2023, after a bond revocation hearing, his bond was
modified to reinstate GPS monitoring.

                                                15
      7:23-cr-00900-TMC       Date Filed 05/13/25        Entry Number 87         Page 16 of 36




Explosives (ATF) was involved in Collins’ case. According to the CW, Collins denied that he

killed Young with a firearm, but he did not deny that he was responsible for Young’s disappearance

and death. The CW also stated that Collins was not concerned that he would be charged with killing

Young because, as Collins put it, “[investigators] will never find her [Young]” and even if they

did, they would “not be able to prove that he [Collins] had anything to do with it [her death].”

According to the CW, Collins credited his military training when he expressed confidence that

investigators would not be able to prove that he killed Young. The CW also recounted a discussion

he witnessed involving the CW, Collins and other inmates when Collins expressed his desire to

“reach across the table and choke” his first lawyer when she advised him that he was unlikely to

be released on bond.20 The CW stated that Collins continues to be exasperated that he was not

granted bail. The Government will call the CW to testify at Collins’ sentencing hearing.

         Before investigators retrieved video footage from his neighbors or from the apartment

complex, Collins appeared to be cooperating with the investigation. He ultimately admitted that

he tampered with law enforcement witnesses and concealed evidence to manipulate and hinder the

investigation of Young’s disappearance. He has offered no inculpatory or exculpatory explanation

for why he did so and has offered no credible information regarding Young’s whereabouts.

II.      Argument

         A.     The preponderance of the evidence shows that Collins killed Young and
                disposed of her body.

         To establish a homicide, the Government must prove (1) that the victim is dead, and (2)




20 His apparent fixation with women’s throats is unnerving. During a recorded jail call between he

and his brother, Collins, after a heated conversation with his daughter, stated that, “[he] wanted to
punch [his daughter] over the fucking phone” and that . . . “if [he] were there, [he] would punch
her right in her fucking throat.”

                                                16
  7:23-cr-00900-TMC           Date Filed 05/13/25        Entry Number 87         Page 17 of 36




that the death was caused by a criminal act—not by accident, suicide, or natural causes—of

another. See United States v. Woods, 484 F.2d 127, 132 (4th Cir.1973), cert. denied, 415 U.S. 979

(1974). While the body itself serves as the best evidence of an unlawful death , recovery of the

victim’s body is not necessary to prove a homicide. United States v. Russell, 971 F.2d 1098, 1110

(4th Cir. 1992) (citing Virgin Islands v. Harris, 938 F.2d 401, 408, 411 (3d Cir. 1991)). There are

other ways to establish that the person was killed. The evidence presented in this case is sufficient

to find, by a preponderance of the evidence, that: (1) Young did not voluntarily disappear from her

life—she is dead and (2) Collins killed her. United States v. Jinwright, 683 F.3d 471, 484 (4th Cir.

2012) (The “different standards of proof that govern at trial and sentencing” enable the sentencing

court to find a fact by a preponderance of the evidence that the jury may not have found beyond a

reasonable doubt.).

               1. The preponderance of the evidence shows that Young is dead.

       Collins’ statement to the CW that “they [police] will never find her [Young]” and even if

they did, they would “not be able to prove that he [Collins] had anything to do with it [her death],”

exemplifies the mistaken belief of many offenders that the longer a victim is presumed missing

and not found, the easier they remove themselves from culpability. Collins does not get away with

murder because he has successfully disposed of Young’s body. All victims have habits, patterns,

family and friends. The absence of these patterns—someone missing work or an important

milestone—can show conclusively that a person is dead. Over thirty years ago in Harris, the Third

Circuit noted that in modern society, the inexplicable disappearance of the victim is, itself,

circumstantial evidence of the crime or corpus delicti:

       Worldwide communication and travel today are so facile that a jury may properly
       take into account the unlikelihood that an absent person, in view of his health,
       habits, disposition and personal relationships would voluntarily flee, “go
       underground,” and remain out of touch with family and friends. The unlikelihood
       of such a voluntary disappearance is circumstantial evidence entitled to weight
                                                 17
  7:23-cr-00900-TMC           Date Filed 05/13/25        Entry Number 87          Page 18 of 36




       equal to that of bloodstains and concealment of evidence.

938 F.2d at 418 (quoting Epperly v. Commonwealth, 224 Va. 214, 228-29 (1982)). Up to the time

she vanished, Young was in daily contact with her three children and in regular contact with the

rest of her family. Minutes before she got home, she was talking and texting with Springer. She

was a devoted and engaged mother (referring to her and her teen son as “a package”) going about

her normal daily activities. PSR, ¶ 25. Her phone has registered no user-initiated activity nor cell

tower connection since she was known to be home alone with the defendant. All attempts by family

and friends to reach Young by phone, which was eventually disconnected for non-payment, have

failed. She has never gone longer than an hour or two without responding to a text message or

phone call from her family. Two days after Young disappeared—May 17—was Young’s

daughter’s birthday. PSR, ¶18. She communicated with her daughter several times a week. Id. For

the first time since she was old enough to remember, Young’s adult daughter did not receive a

“Happy Birthday” phone call from Young. PSR, ¶18. In the past two years, Young has missed

many more milestones, family celebrations and all the mundane moments that happen in the

middle.

       Young rarely missed a day of work at Spartanburg Regional Hospital, her only source of

income. She has not returned to her job. There has been no non-automatic bank activity and no

cash withdrawal in any of Young’s known financial accounts since her May 15 Ace Hardware

purchase. PSR, ¶ 26. Because she did not terminate automatic payments for car insurance, a Netflix

subscription and commercial storage fees, they drained her bank account of her hard-earned

income. Young is without her paid-for car, house and car keys, two purses, checkbook, bank cards,

medication, cell phone charger and other personal items. PSR, ¶ 32. Abandoning financial assets

(e.g., cash, a bank account, credit or debit card, or a checkbook) or personal records to start a new


                                                 18
  7:23-cr-00900-TMC           Date Filed 05/13/25        Entry Number 87         Page 19 of 36




life makes no sense if she left her life deliberately and voluntarily. An April 2025 credit report

shows no inquiry or request for credit, and three accounts have been reported to collections since

her disappearance. The report shows no new address associated with Young’s social security

number and the house on Pratt Drive in Boiling Springs is listed as her current address. Her

passport has not been used. The fact that her clothing and her son’s clothing, furnishings, and

significant personal items were left inside their residence and in a commercial storage unit suggests

Young’s disappearance was not planned. PSR, ¶¶ 21, 28.

       To leave without telling her family and remain out of touch with them is totally out of

character for Young. PSR, ¶ 17. Even though their relationship was tumultuous, Young was not

prepared to, nor did she plan to, leave Collins or her residence on the day she disappeared. If she

did, she had no reason to keep her plans a secret from her family, all of whom encouraged her to

leave Collins. During questioning, Collins himself described her as a “homebody” and said that

…“if she’s not here, [then] she’s with her family.” During a recorded interview, Iniesha recalled

only one occasion when Young got dressed up and went out with her girlfriends. If she were

physically capable, Young would never break her promise to Iniesha and leave her stranded in

Gaffney. PSR, ¶¶ 17, 22. Young was not a substance abuser and, before she disappeared, she

suffered from no serious injury or illness. The defendant described her to police as “healthy” and

“active.” No person other than the defendant is known to pose a danger to Young. There was no

indication that Young did not intend to keep her personal and professional commitments.

       Within a few days of her disappearance, Young’s colleagues at the hospital offered a

$10,000 reward for information leading to her whereabouts. No tips have been received and no

claim has been made for the reward money. To find Young and/or information leading to her

whereabouts, police conducted foot searches and checked border crossing databases and other


                                                 19
  7:23-cr-00900-TMC           Date Filed 05/13/25        Entry Number 87          Page 20 of 36




police agencies, all with negative results. PSR, ¶¶ 51, 53, 56. Law enforcement disseminated a

missing person alert to media outlets, issued a BOLO advisory for Young and for her car, and

entered all identifying information into license plate recognition platforms, the National Missing

and Unidentified Persons (“NameUS”) database (a resource created to improve access to

information that would help solve missing and unidentified person cases) and the National Crime

Information Center (“NCIC”) database.21 Young’s body has not been recovered nor has there has

been a recovery of a body matching that of Young. Records entered into NCIC are available to

more than 100,000 authorized law enforcement and criminal justice agencies nationwide 24 hours

a day, 365 days a year. The most recognizable use of the system is by officers during routine traffic

stops. The system responds instantly to let officers know, for example, if the driver is wanted or if

the vehicle is stolen, to locate missing persons, to find and apprehend fugitives, and to identify

terrorists and convicted sexual offenders. None of these efforts has led to police to Young.

       Since the missing person report was filed May 15, news releases regarding her

disappearance have reached an online and print audience of 6.6 million and a television audience

of about 78,000 nationwide. Critical Mention. (Accessed March 3, 2025). “U.S. v. Da’ Ron

Collins” dataset, Critical Mention platform. Young’s family and friends created a Facebook page

to receive tips from the public regarding her whereabouts. Despite media coverage and the public’s

awareness of her disappearance, other than the tipster who reported the location of Young’s car at

the apartment complex two years ago (PSR, ¶ 30), there has been no sighting of Young and no

significant lead as to her whereabouts. No one who knows Young—her immediate family, her

close friends and her professional colleagues—believe she is alive and well. Because the absence




21 On June 14, 2023, investigators collected DNA from Young’s daughter for future analysis.



                                                 20
  7:23-cr-00900-TMC           Date Filed 05/13/25        Entry Number 87         Page 21 of 36




of evidence of life is evidence of death, they have come to believe and accept that she is deceased.

               2. The preponderance of the evidence shows that Collins killed Young.

       Unsurprisingly, an increasing number of “no body” homicides involve domestic (husband-

wife, boyfriend-girlfriend, parent-child) relationships for which the presence of eyewitnesses is

rare. These cases are often built on circumstantial evidence, but “a conviction may rely entirely on

circumstantial evidence.” United States v. Hassan, 742 F.3d 104, 139 (4th Cir. 2014) (emphasis

added). Murder convictions based on circumstantial evidence have withstood sufficiency of the

evidence challenges in cases where the victim’s body was not recovered. 22


22 See, e.g., Russell, 971 F.2d at 1110 (conviction of first-degree murder affirmed for killing

defendant’s wife, an officer in the United States Marine Corps, even though her body wasn’t found
where evidence showed defendant was unhappy in his marriage and regularly subjected his wife
to emotional and physical abuse; his wife was a successful Marine Corps officer and defendant
was hostile toward the Marine Corps; prior to wife’s disappearance, defendant suggested she might
be found dead; he was planning a murder; he believed a shot behind the ear was an effective way
to kill a person; he had purchased a pistol two days before his wife disappeared and possessed a
homemade silencer; the two were together the last time she was seen or heard from; defendant
took steps to ensure his wife’s sister would not be present at that time; defendant appeared nervous
and agitated when he was seen at his quarters around the time the murder allegedly took place;
there was blood on the floor of the storage shed at the couple’s quarters at or about the time of her
disappearance; although he owned an open-bed pickup truck, defendant borrowed a station wagon
and drove to Pennsylvania that same afternoon; he had once remarked that a body could easily be
disposed of in a Pennsylvania mine shaft; he thoroughly cleaned and deodorized the borrowed car
before returning it, which he had never done before; after his wife’s disappearance, he asked a
friend how long it would take a body to decompose; an exhaustive search for her body was
unsuccessful; her possessions and bank accounts have not been disturbed; and she has not been
seen or heard from by her family or friends);
United States v. Wills, 346 F.3d 476, 497-99 (4th Cir. 2003) (circumstantial evidence sufficient to
find defendant killed the victim even though victim’s body was not found and there was no
biological evidence where defendant lured a victim away from his home by posting a fake job flier
under the victim’s door and obtained a cell phone under a fictitious name to call and stage a fake
out-of-state job interview with the victim; victim disappeared after telling his family and friends
in Virginia that he was going on a job interview for a job advertised in the fliers; victim had not
been seen for three days when his car was found in a Maryland apartment complex parking lot;
victim gave no indication that he did not intend to return home; he took no personal items with
him, very little cash, and had no credit cards, passport, or travel documents; he never returned to
his job nor did he pick up his paycheck; phone connected to defendant called victim’s phone close
in time to victim’s disappearance; fellow prisoner testified defendant told him “they’ll never find
                                                 21
  7:23-cr-00900-TMC          Date Filed 05/13/25        Entry Number 87         Page 22 of 36




       At sentencing, the Government will present evidence sufficient for the court to find by a

preponderance of the evidence that Collins killed Young. The nature of their relationship serves

as a huge motivator for him to lie, conceal evidence and dispose of her body. Unlike a stranger

assailant who is unknown and has no relationship with his victim, a domestic partner is a natural

suspect because he has every reason to dispose of his victim’s body. The evidence in this case

points to Collins who had the motive, means and the exclusive opportunity to kill and dispose of

Young’s body. Text messages exchanged between the couple show the relationship was in trouble

months before Collins assaulted and strangled Young on May 13. Collins’ verbal and physical

abuse, as witnessed by his daughter and by Neighbor #1, shows the interaction between the couple

remained tense through May 15. Also, at the time she disappeared, he was secretly dating at least

one other woman.

       According to T-Mobile records, the last user-initiated activity on Young’s cell phone

occurred at approximately 4:39 p.m. before she arrived home. Since that time, all incoming calls

to her phone, which has not been found, were routed to voicemail, which indicates the phone

was powered off or was otherwise disabled. 23 The loss of cell service can provide the last known



the body;” and police checked local agencies and files and national crime database but could not
locate victim);
United States v. Overstreet, 713 F.3d 627 (11th Cir. 2013) (affirming district court’s finding at
sentencing that defendant either killed his wife or “kidnapped her and left her for dead” and 420-
month sentence on felon-in-possession charge even though her body was never recovered and he
was not charged with her murder where defendant cut his electronic ankle bracelet, fled Texas,
and his wife disappeared; he used her debit card 25 times in Florida, even though he must have
known she would report the card stolen if she were alive; when he was arrested in Jacksonville, a
gun and a roll of duct tape with his wife’s blood were found in the trunk of the car; the two had
been fighting shortly before her disappearance; she had reached out to her family for help; he had
stolen her car, perhaps her guns, her cell phone, laptop, and her only means of support (a food
stamp card and the debit card); and court found his demeanor and lack of emotion to cast doubt on
his credibility).
23 It is unlikely that her phone was disabled because the battery was dead. At least one cell phone

charger was found in Young’s car.
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  7:23-cr-00900-TMC           Date Filed 05/13/25        Entry Number 87         Page 23 of 36




location of a missing person and possible areas to focus search efforts. Her phone last connected

to a cell tower located 1.5 miles away from her home on Baby Road on May 15 from approximately

6:32 p.m. to 6:58 p.m., an indication that she was present at her residence. Young was last known

to be alive, in good health and alone with Collins on May 15 inside their residence. There is no

evidence that Young’s phone nor Young left the residence after she arrived under her own power,

in her car or otherwise. Yet she was not found in the residence, and she has not been seen or heard

from since she arrived. Collins likely killed Young inside their home between approximately 4:52

p.m., when she entered the house, and 7:20 p.m. when Collins left the house to dump her car. 24

ADT registered no interior sensor activity inside the house from 7:20 p.m. , while he was off

dumping the car, until he returned. It is unlikely that she died of natural causes, and unlike two

days before, there was no one present to intervene or call for emergency assistance to the residence.

A person who dies naturally cannot dispose of her own body. See People v. Manson, 139 Cal. Rptr.

275, 298 (Ct. App. 1977) (The inability to find the victim’s body “would justify an inference by

the jury that death was caused by a criminal agency.”)

       Collins’ attempt to deceive Young’s family and police would lead any reasonable juror to

doubt his claim that he had no role in Young’s disappearance and death. It is well-settled that “an

exculpatory statement made by a defendant and found to be untrue [can] be considered evidence

of a consciousness of guilt.” United States v. Marfo, 572 F. App’x 215, 231 (4th Cir. 2014)

(unpublished) (quoting United States v. McDougald, 650 F.2d 532, 533 (4th Cir. 1981)).25




24 At 5:24 p.m., Neighbor #3’s camera caught him rummaging through the trunk of her car.


25 Collins’ behavior during police interviews before surveillance footage of him dumping Young’s

car was recovered also showed a consciousness of guilt. Officer Robinson BWC. He also took
steps to appoint Iniesha as power of attorney over his affairs so that she would be okay “if things
went left,” i.e., took a turn for the worst. PSR, ¶ 55. Then on May 20-21, 2023, he sent the
                                                 23
  7:23-cr-00900-TMC          Date Filed 05/13/25        Entry Number 87         Page 24 of 36




Believing there was no video evidence of Young’s presence at the residence and before anyone

inquired about her whereabouts, Collins began staging her voluntary disappearance. He sent a 5:34

a.m. text message to Young’s phone accusing her of not coming home Monday night because she

had run off with another man. But Collins left his residence just after midnight Monday and

according to him, his security cameras were unplugged, so how would he know whether Young

had come home as he drove around Spartanburg, Greenville and Laurens counties? Collins

continued this narrative when he lied to Springer, telling her that Young did not come home. When

he did so, he surely knew that Young would tell a different story when she returned. But he also

knew she was dead and could not return home. Falsely believing he had successfully deleted all

the video images recorded by his camera on May 15, he lied again when he claimed that

unplugging the camera wiped out all previously recorded video images. He did not anticipate that

ADT records would prove his claim false and he did not anticipate that video footage of activity

occurring on his property would be recovered from neighborhood cameras. Knowing that he had

dumped Young’s only means of transportation in the complex parking lot, he lied again when he

told police that Young drove off from their residence in her car and that he did not leave his

residence. Collins had to know that Young needed her car and that she would report it stolen when

she could not find it. Again, he was not concerned about this eventuality because he knew Young

could not search for her car. He had to know there was a chance he would be seen dumping the

car just a few miles away. But it was a risk Collins believed worth taking to distance himself from

any evidence that she was last known to be alive with him inside their home. He knew that tracking




following text messages to Iniesha’s older sisters: “I’m having a life changing event happen and
[n]o matter what happens to me I love you and your sister untill end and forever. Reach out to
your baby sister [Iniesha] as my last request…” and “Thank you for reaching out to your
sister…she needs support from everyone at this time.”
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  7:23-cr-00900-TMC           Date Filed 05/13/25        Entry Number 87         Page 25 of 36




Young’s phone would show that cell tower connectivity permanently ceased while she was alone

with him inside their residence. This is not the first time a person who causes a death—due to

negligence, accident, or murder—has tried to create an illusion of time and proximity from the

victim’s last-known whereabouts and the act by trying to establish an alibi, obstruct justice, or

otherwise attempt to avoid detection. But for the tipster who spotted the car in the parking lot and

surveillance cameras that saw Collins himself wiping it down and dumping it, his narrative that

Young abandoned her life to run away with a new boyfriend would be the only story ever told.

The evidence establishes by more than a preponderance that Collins killed Young.

       B.      Analysis of the § 3553(a) factors supports an upward variance.

       When imposing a sentence, 18 U.S.C. § 3553(a) requires a district court to consider various

factors including the nature and circumstances of the defendant’s offense and the defendant’s

history and characteristics; the need for the sentence to reflect the seriousness of the offense, to

promote respect for the law, and to provide just punishment for the offense, to afford adequate

deterrence to criminal conduct, and to protect the public from further crimes of the defendant; the

kinds of sentences available; the applicable guidelines range; and the need to avoid unwarranted

sentencing disparities. See 18 U.S.C. § 3553(a)(1)-(6). Sentencing courts have “extremely broad

discretion when determining the weight to be given to each of the § 3553(a) factors.” United States

v. Jeffrey, 631 F.3d 669, 679 (4th Cir. 2011) (emphasis added) and the fact that a

“variance sentence deviates,” even “significantly,” from the Guidelines range “does not alone

render it presumptively unreasonable,” United States v. Rivera-Santana, 668 F.3d 95, 106 (4th Cir.

2012); see also United States v. Hampton, 441 F.3d 284, 287 (4th Cir. 2006) (“If the district court’s

justifications for the variance sentence are tied to § 3553(a) and are plausible, we will uphold the

sentence as reasonable.” (internal quotations omitted)).


                                                 25
  7:23-cr-00900-TMC           Date Filed 05/13/25        Entry Number 87          Page 26 of 36




       The recommended Guidelines sentence—37 to 46 months—only considers Collins’

obstructive and misleading conduct. It does not reflect the purpose and magnitude of his conduct,

that is, to avoid responsibility for his role in Young’s disappearance and death. As briefed in the

Government’s objections to the PSR, that range improperly awards Collins credit for accepting

responsibility and rewards him for having no criminal history.

       Throughout the investigation, specifically during his May 16 police interview, Collins

continued to deny that he assaulted and strangled Young. Obviously, the circumstances

surrounding the domestic incident that occurred two days before Young disappeared w ere part of

the kidnapping investigation. His continuing attempts to conceal that he assaulted and strangled

her constitutes relevant conduct for the witness tampering and obstruction of justice offenses. If

the defendant continues to deny that he assaulted and strangled Young, then he falsely denies

relevant conduct., which is inconsistent with acceptance of responsibility and would support denial

of the acceptance-of-responsibility reduction under § 3E1.1 cmt. n. 1(A). See USSG § 1B1.3(a)(1)

(relevant conduct includes “all acts and omissions committed … by the defendant ... that occurred

during the commission of the offense of conviction, in preparation for that offense, or in the course

of attempting to avoid detection or responsibility for that offense”). Further, based on the May 13

domestic violence incident and the fact that he subsequently took Young’s life, Collins does not

qualify for a two-level zero-point offender reduction under USSG § 4C1.1(a)(3)-(4), which

precludes a reduction where the defendant used “violence or credible threats of violence in

connection with the offense” or where the offense “result[ed] in death or serious bodily injury.”

Sustaining these two of the Government’s objections would yield a Guidelines range of 63-78

months.




                                                 26
  7:23-cr-00900-TMC           Date Filed 05/13/25        Entry Number 87          Page 27 of 36




       If the Court sustains the Government’s additional objection to the PSR and finds the

defendant obstructed a death investigation—not merely a kidnapping investigation—application

of the second-degree murder cross reference under USSG § 2A1.2 would cap the base offense

level at 30 pursuant to § 2J1.2(c)(1) and § 2X3.1(3)(A), yielding a Guidelines range of 97-121

months.26 A reduction for acceptance of responsibility results in total offense level 27 and an

advisory range of 70-87 months. An additional reduction under USSG § 4C1.1(a) (Zero Point

Offender) would reduce the total offense level to 25, resulting in a sentencing range of 57 -71

months.

       Regardless of the guidelines ultimately applied, multiple § 3553(a) factors support an

upward variance to 240 months’ imprisonment in this case. United States v. Parral-Dominguez,

794 F.3d 440, 447 (4th Cir. 2015).

               1. The nature and circumstances of the offenses are not adequately
                  covered by the Guidelines.

       Collins did not commit his crimes in a vacuum. As part of its analysis of the §

3553(a) sentencing factors and to arrive at a sentence that reflects the seriousness of his offenses,

the court should consider his role in Young’s murder. United States v. Fernandez, 581 F. App’x

221, 223 (4th Cir. 2014) (citing Overstreet, 713 F.3d at 637) (In affirming the district court’s

upward variance from 180-188 months to 420 months’ imprisonment (123% increase) under the




26 While first degree murder “requires a showing of premeditation” and “malice aforethought,”

second degree murder requires only a showing of malice aforethought. United States v. Williams,
342 F.3d 350, 356 (4th Cir. 2003). Malice aforethought can be established “from the whole facts
and circumstances of the killing.” Id. (citation omitted). The Government need not “show an intent
to kill or injure.” Id. “Rather, malice aforethought ‘may be established by evidence of conduct
which is ‘reckless and wanton and a gross deviation from a reasonable standard of care, of such
nature that a jury is warranted in inferring that defendant was aware of a serious ris k of death or
serious bodily harm.’” Id. (citation omitted).

                                                 27
  7:23-cr-00900-TMC            Date Filed 05/13/25        Entry Number 87          Page 28 of 36




ACCA, “[t]he fact that [the defendant] killed his wife in the process of absconding from parole

[wa]s directly germane to several § 3553(a) factors,” including the need for the sentence to

promote respect for the law, afford adequate deterrence, and protect the public from future crimes

of the defendant.).27

       Congress could not have conceived of a purpose to commit witness tampering and

obstruction of justice more egregious than doing so to evade responsibility for intentionally killing

another person. And when you consider that Congress thought the worst-case scenario for each

offense was worth 20 years, the only question is whether a lesser sentence is sufficient here.28 E.g.,

21 U.S.C. § 841(b)(1)(C) (prescribing a 20-year mandatory minimum for generally unintentional,

even if foreseeable, drug distribution resulting in death).

       Even if the evidence is not sufficient to find that Collins killed Young, his obstructive



27 See also United States v. Waller, 689 F.3d 947, 958, 960 (8th Cir. 2012) (affirming variance

from 10-16 months to statutory maximum 60 months under 18 U.S.C. § 875(c) for transmission
of a threat based on finding that defendant murdered his wife in a “no body” homicide case where
defendant repeatedly threatened to kill his wife, who vanished four days after telling him she was
in a relationship with another man and shortly thereafter met him to sign divorce papers; defendant
was the last person to see her alive; shortly after she went into his residence, he did not answer his
sister-in-law’s phone calls, until she left him a message saying that if she did not receive a response
within ten minutes, she was going to call the police; he initially lied to his sister-in-law by denying
that his wife had been at his residence; later, he told police that she had been “napping” at his
residence, he had thrown her keys into a tree, and she had left on foot; in interview with authorities,
he did not mention her being injured at his residence, but authorities found spatters of her blood
on the walls and pieces of carpet hidden in the crawl space of his basement with her blood on them;
he later admitted cutting up the carpet and hiding it, saying he did not want his landlord to find out
and “think that something happened”; and his father said he admitted that he killed and buried
her).
28 In United States v. Vause, Criminal No. 2:24-0234-RMG, the defendant pled guilty to three

counts of lying to a federal officer regarding her role in the victim’s abduction, sexual assault and
murder. Each count carried a maximum sentence of eight years pursuant to 18 U.S.C. §1001(a)(3).
After an analysis of the § 3553(a) sentencing factors and to address extent of the defendant’s
conduct, the court stacked the statutory maximum for each count to reach its chosen sentence of
18 years imprisonment.

                                                 28
  7:23-cr-00900-TMC            Date Filed 05/13/25        Entry Number 87          Page 29 of 36




conduct is inextricably intertwined with a death investigation. His actions are sufficient to

distinguish this case from the heartland of obstruction offenses and warrant an upward variance.

United States v. Bollinger, 798 F.3d 201, 221 (4th Cir. 2015) (“A fact that is taken into account in

computing a Guidelines range is not excluded from consideration when determining whether the

Guideline sentence adequately serves the four purposes of § 3553(a)(2).”).29

       Aside from the serious nature of the underlying conduct, the extent of Collins’ obstruction

independently warrants an upward variance. His attempts to cover up his conduct was not a

spontaneous act. No one questioned him about Young until the day after she disappeared. He had

time to consider reporting the incident honestly. Instead, the defendant took numerous deliberate

and well-considered steps to derail the investigation of Young’s disappearance and death. The

application of USSG § 2J1.2(b)(2) and (3) would have been supported by a single discrete instance

of deliberate dishonesty or concealment and destruction of evidence. Any one of the following acts




29 See also United States v. Waters, 281 F. App’x 152, 156-58 (4th Cir. 2008) (unpublished)

(although obstructive conduct was accounted for in the Guidelines, upward variance in a gang-
related prosecution was reasonable; court was not precluded from considering “the cavalier
method” in which Waters planned to have the witness against him killed, given extent of
defendant’s actions as reflected in district court’s repeated refrain, “there is obstruction of justice
and there is obstruction of justice,” in concluding that the enhancement provided by the Guidelines
failed to capture the gravity and flagrancy of defendant’s conduct);
United States v. Miller, 479 F.3d 984, 987-88 (8th Cir. 2007) (affirming upward variance from 18-
24 months to statutory maximum 60 months for perjury offense based on exceptional
circumstances where defendant falsely testified she had no knowledge of the disposal of murder
victim’s body; perjury “impede[d] the administration of justice,” resulting in the dissipation of
evidence; defendant’s “lies prolonged the suffering and the anguish of the victim’s family who
had been seeking answers about the victim’s death and the location of his body so he could be
properly buried;” and, even though defendant did not directly participate in murdering the victim,
her role in disposing the body by draining and dismembering it (for which she had not been
punished) made it more difficult to detect and resolve violent crime, supporting finding that “[n]o
one could engage in the type of conduct that she engaged in without posing a serious risk to the
public”).


                                                  29
  7:23-cr-00900-TMC           Date Filed 05/13/25        Entry Number 87         Page 30 of 36




by Collins would have sufficed: (1) falsely denying that he strangled or attempted to strangle

Young and lying about the availability of video camera footage to prevent their discovery ; (2)

dumping and wiping down her car and its contents in a location and manner to avoid detection; (3)

planting a phony text message to Young to make it appear she disappeared voluntarily; (4) lying

to Springer by telling her that Young did not come home after work; (5) pausing his camera’s

recording function and deleting recorded video images to prevent discovery of evidence of her

whereabouts; (6) lying to police by telling them that Young drove off in her car, causing them to

search for a car he knew was not in her possession; (7) lying to police by telling them that he did

not leave his house; (8) purposely leaving his cell phone at home while he dumped the car to create

a false record concerning his whereabouts; (9) powering his cell phone off to intentionally prevent

the collection of location data during his midnight drive; and (10) disabling and disposing of

Young’s phone which prevented the recovery of location data . A within-Guidelines sentence

would give Collins a free pass on his multiple acts of obstruction and incentivize defendants who,

having once obstructed justice in the commission of the offense of conviction, make additional

attempts, secure in the knowledge that doing so cannot make his situation any worse, and possibly

improve his chances of avoiding responsibility.

               2. The defendant’s history and characteristics support an upward variance.

                       a. Criminal history

       An upward variance to adequately reflect the defendant’s criminal history is rooted in

the need for the sentence to protect the public, promote respect for the law and deter future similar

conduct under § 3553(a). In addition to his May 2023 domestic violence offense, Collins

committed similar offenses in 2006, 2015 and 2018, while he was active duty in the U.S. Army.

Enlisted military offenders may be prosecuted in civilian courts but may also be subject to


                                                 30
  7:23-cr-00900-TMC          Date Filed 05/13/25        Entry Number 87         Page 31 of 36




administrative measures within the military justice system under the Uniform Code of Military

Justice (UCMJ). The authority to prosecute or refer charges to court martial are within the purview

of the command level, by individuals with direct authority over the servicemember. The charges

filed against Collins were disposed of after he completed a diversion program and, as active-duty

serviceman, under the UCMJ. Therefore, Criminal History Category I under-represents his

conduct.

        However, uncharged and dismissed offenses are appropriate for the court’s consideration

in imposing sentence. 18 U.S.C. § 3661 (“No limitation shall be placed on the information

concerning the background, character, and conduct of a person convicted of an offense… which a

court of the United States may receive and consider for the purpose of imposing an appropriate

sentence.”); see also United States v. Walker, 112 F.3d 163, 165-166 (4th Cir. 1997) (affirmed

upward departure under USSG § 4A1.3 based on prior illegal conduct for which the defendant, an

attorney, was disbarred but never convicted). The U.S. Army Criminal Investigations Command

(CID) reports document the uncharged acts of violence in the defendant’s criminal history:

       Pierce County Sheriff’s Office, Parkland, Washington: On February 24, 2006, at 5:21 p.m.,
       Deputy Centoni was dispatched to the parking lot of a local business in response to a
       domestic assault report. When the deputy arrived, he was met by a woman (Victim-1) and
       Collins’ two roommates, who were eyewitnesses to the incident. Centoni reported that
       Victim-1 had tears in her eyes and was slightly favoring her neck and back. The left side
       of her neck appeared a little red and there were slight (finger type) marks on the left side
       of her throat. Victim-1 reported that she and Collins, stationed at Fort Lewis, had been
       dating off and on for seven years. Victim-1 stated that on February 24, 2006, Collins told
       her that he did not want to marry her. Victim-1 reported that when she accused him of
       cheating on her, Collins became angry, grabbed her neck and began choking her which
       made it hard for her to breath. Collins slammed Victim-1 onto the kitchen counter and then
       threw her on the floor. The two eyewitnesses heard Victim-1 screaming and a loud “thump”
       in the kitchen. When they ran into the kitchen, they saw Collins standing over Victim-1 as
       she laid on the floor. The male roommate restrained Collins to prevent a further assault. As
       the other roommate pulled Victim-1 away, she observed Collins kick Victim-1 in the face.
       He was arrested and charged with fourth degree domestic violence assault and transported
       to jail. Collins completed a civilian two-year diversionary program, paid a fine and the case


                                                31
  7:23-cr-00900-TMC           Date Filed 05/13/25        Entry Number 87           Page 32 of 36




       was dismissed. PSR, ¶ 70. Under the UMCJ, the allegations were determined “founded”
       and disposed of administratively. 30 Collins did not appeal the CID determination.

       Military Police Battalion, Fort Drum, New York: On April 1, 2015, military police were
       dispatched in response to a verbal altercation between Collins and Victim-2, another non-
       commissioned officer. The investigation determined that Collins threatened to shoot
       Victim-2 with what appeared to be a firearm camouflaged in a shirt, specifically, Collins
       angrily told Victim-2, “I’m going to fill you with seven rounds!” Collins was charged with
       communicating a threat, in violation of Article 134 of the UCMJ. The allegations were
       determined “founded” and disposed of administratively. PSR, ¶ 71. Collins did not appeal
       the CID determination.

       U.S. Army Garrison Bavaria, Grafenwöhr, Germany: On July 27, 2018, Victim-3, who
       was Collins’ then-wife, reported that he “grabbed her by her arms and slammed her against
       the wall” leaving her arms black and blue. Victim-3 also reported that Collins harassed her
       and violated military protective orders at least three times: in February 2018, on April 21,
       2018, and on May 7, 2018. While awaiting approval for the early return of a civilian
       dependent (“EROD”) (a mechanism for returning civilian or military dependents to travel
       to the continental United States prior to termination of soldier’s overseas tour due to official
       or personal situations), Victim-3 applied for and received extended protection orders.
       Collins was charged with four counts of assault consummated by battery, in violation of
       UCMJ Article 128b. PSR, ¶ 72. The allegations were determined “founded” and disposed
       of administratively. Collins did not appeal the CID determination.

       Collins retired from the military in 2020. As documented by witnesses and by police body-

worn camera, his abusive conduct continued at least to May 13, 2023. PSR, ¶¶ 7-12. He cannot

credibly argue that he continually finds himself falsely accused of domestic violence. Collins

bragged to the cooperating witness that, thanks to his military experience, Young’s body would

never be found. Instead of using his military training to defend his country, he’s using it to —

literally—try to get away with murder.




30 “Founded” is defined as a determination by the CID that a criminal offense enumerated in the

UCMJ, Federal Criminal Code, or a state statute has been committed. The determination that a
founded offense exists is an investigative decision based on credible information and not
dependent on a judicial decision. U.S. ARMY CRIMINAL INVESTIGATION COMMAND,
REG. 195-1, CRIMINAL INVESTIGATION OPERATION PROCEDURES, para. 7 -25c(1)
(2014).
                                                 32
  7:23-cr-00900-TMC           Date Filed 05/13/25        Entry Number 87         Page 33 of 36




       The nature of the defendant’s prior dismissed and uncharged conduct warrants an upward

variance to a sentence that adequately addresses his criminal history and the likelihood of

recidivism. United States v. Grubbs, 585 F.3d 793, 803–04 (4th Cir. 2009) (finding variance from

151-188 months to 240 months reasonable based on finding that defendant convicted of multiple

violations of interstate transportation of minors for the purpose of engaging in sexual activity, had

uncharged additional incidents of abuse against victims not identified in the offenses of conviction

and at least a 20-year history of molesting school boys, and that he engaged in the “continued

predatory conduct” of abusing one child victim after he was under investigation for abuse ).

       In many cases, a defendant’s lack of criminal convictions is a primary source of mitigation.

Collins’ lack of criminal convictions is largely due to his status as a servicemember, during which

he avoided criminal prosecution in civilian courts. His lack of criminal convictions was one reason

he was not arrested for assaulting and strangling Young. See PSR, ¶ 12. Given the similarities

between military misconduct and the conduct in this case, his lack of criminal convictions is

outweighed by his escalating history of violence and the leniency afforded him in the past. United

States v. Rivera-Santana, 668 F.3d 95, 105 (4th Cir. 2012) (“… it was well within the court’s

discretion to accord more weight to the host of aggravating factors and decide that the sentence

imposed would serve the § 3553 factors, on a whole.”). Comparable deviations based on these

factors producing sentences longer than the 240-month sentence requested in this case have been

upheld as substantively reasonable. See e.g., United States v. Myers, 589 F.3d 117, 126 (4th

Cir.), cert. denied, 130 S. Ct. 3306 (2010) (affirming upward departure from 121 months to 360

months under § 4A1.3 based on criminal history, including unscored convictions and recidivism;

sentence predicated on that departure would satisfy § 3553(a) sentencing factors); United States v.




                                                 33
  7:23-cr-00900-TMC          Date Filed 05/13/25        Entry Number 87         Page 34 of 36




Lawrence, 349 F.3d 724, 727 (4th Cir. 2003) (affirming upward departure from 96 to 262 months

based in part on a defendant’s “extensive juvenile record”).

                      b. The need for the sentence to protect the public from further crimes.

       Protection of the public from further crimes of the defendant as called for under § 3553

(a)(1)(C) should also be of paramount concern in this case. His chosen method of abuse—

strangulation—is widely recognized as one of the most lethal forms of domestic violence. It is

extremely dangerous: because it restricts the victim’s breathing and circulation of the blood, a

victim can lose consciousness within 5-10 seconds and die within minutes. 31 See Training Institute

on Strangulation Prevention, Strangulation in Intimate Partner Violence Fact Sheet (2017)

(available       at https://www.familyjusticecenter.org/resources/strangulation-intimate-partner-

violence-fact-sheet/). Strangulation is one of the best predictors for the subsequent homicide of

victims of domestic violence. One study showed that the odds of becoming an attempted homicide

victim increased by 700 percent, and the odds of becoming a homicide victim increased by 800

percent for women who had been strangled by their partner.32 The consequences of any additional

leniency Collins is afforded will likely fall on his future victims.



31 Forty-nine states have toughened laws against strangulation by making it a standalone felony

offense or a means of criminalizing strangulation as a felony offense. In South Carolina, non-fatal
strangulation can enhance a domestic violence offense and form assault or battery, but it is not a
standalone felony. See https:// www.strangulationtraininginstitute.com/resources/legislation-map.
The Violence Against Women Reauthorization Act of 2013 (“VAWA”) amended the federal
assault statute to criminalize “[a]ssault of a spouse, intimate partner, or dating partner by
strangling, suffocating, or attempting to strangle or suffocate.” 18 U.S.C. § 113(a)(8).
And effective January 1, 2019, the UCMJ was amended to add a specific punitive article for
domestic violence—Article 128b. The amendment requires a threat or violent offense or the
specific act of strangulation or suffocation to trigger the UCMJ. Article 128b, UCMJ.

32 Nancy Glass et al., Non-Fatal Strangulation Is an Important Risk Factor for Homicide of

Women, Journal of Emergency Medicine 35(3) (2008).

                                                34
  7:23-cr-00900-TMC           Date Filed 05/13/25       Entry Number 87          Page 35 of 36




       There has been no expression of remorse nor acknowledgement of any wrongdoing prior

to or after Collins pled guilty. His lack of remorse demonstrates a heightened need to “deter future

criminal conduct by this defendant” and instill “proper respect for the law.” See § 3553 (a)(2)(A)-

B. A significant period of incarceration may be one of the few effective tools available to deter

such conduct. See 18 U.S.C. §3553(a)(2)(B).

       Finally, there is no reason to believe that a 240-month sentence on these facts will lead to

unwarranted sentence disparities among “defendants with similar records who have been found

guilty of similar conduct.” 33 § 3553(a)(6). The national average for obstruction-related offenses

for 2019-2023 according to Sentencing Commission data alone will not negate the district court’s

consideration and application of the § 3553(a) factors. See 18 U.S.C. 3553(a)(6). Averages of

sentences that provide no details are unreliable to determine unwarranted disparity because they

do not reflect the enhancements or adjustments that distinguish individual cases. Even if a sentence

“is more severe than average, that fact does not mean it was unwarranted.” Rivera-Santana, 668

F.3d at 106. The facts of this case warrant a significant upward variance.

                                         CONCLUSION

       The Court should impose a sentence that reflects an upward variance based upon the §



33 The requested variance is far from extreme under Fourth Circuit precedent. See, e.g., United

States v. Blake, 565 F. App’x 241, 245 (4th Cir. 2014) (unpublished) (affirming variance from
121-151 months to 240 months for conspiracy to commit murder and kidnapping in aid of
racketeering and aggravated reentry based on § 3553(a) factors, including the need to not trivialize
defendant’s conduct and foster societal cynicism following the grant of a ten -level government
departure motion); United States v. Howard, 743 F. App’x 526, 527 (4th Cir. 2018) (unpublished)
(defendant’s likelihood of reoffending, pattern of violent behavior toward others, which were not
part of instant drug conspiracy, justified 96-month variance sentence, more than four times the
high end of the 15-to-21-month range); United States v. Mayhew, 715 F. App’x 232, 234 (4th Cir.
2017) (unpublished) (affirming departure and variance from 108-135 months to 320 months for
fraud based on underrepresented criminal history, dismissed or uncharged conduct, and
the “likelihood that the defendant will commit other crimes, the nature and circumstances of the
instant offense, and the history and characteristics of the defendant” pursuant to § 3553(a)).
                                                35
  7:23-cr-00900-TMC         Date Filed 05/13/25       Entry Number 87        Page 36 of 36




3553(a) sentencing factors, as specified in § 3553(b)(1), from the current advisory range to 240

months’ imprisonment—a sentence sufficient but not greater than necessary to accomplish the

goals of sentencing.

                                            Respectfully submitted,

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May 13, 2025




                                              36
